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                     IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

   UNITED STATES OF AMERICA

   y.

                                                      NO. 4T9-CR-68
                                                      Judge Mazzant
   ZENON DOMINGUEZ NIETO (1)
   a.k.a. Dominguez Nieto
   JULIANO GARCIA-ZABALETA (2)                        SEALED
   a.k.a. Toro
   JOSE ANTONIO IBARRA GODINEZ (3)
   a.k.a. Gordo
   a.k.a. Gordito
   DAVID CLYDE McKINNEY (4)
   SHAMILYA DIANE GREENE (5)
                                       (6)                      MAV - 8 2019
   TOMAS DUQUE PINEDA (7) §                                  Clerk, US. District Court
   a.k.a. Chaparro §                                              Texas Eastern
   LUIS VEGA (8) §
   a.k.a.                   Kiko         §
   OMAR MARTINEZ (9) §
   FABIAN VILLEGAS HERRERA (10) §
   SELENE HERRERA (11) §
   MARIA VILLEGAS HERRERA (12) §
   JOSE VILLEGAS MARTINEZ (13) §
   a.k.a.            Monito              §
   JOSE ISAAC HER ERA (14) §
   a.k.a.              Isaac             §
   ALVARO GABRIEL VARGAS CUEVAS (15) §
   a.k.a.               Varo             §
   LEONICIO JIMENEZ (16) §
   a.k.a.            Lloron              §
   LILIANA DUQUE PINEDA (17) §
   CARLOS VASQUEZ ARTIAGA (18) §
                             ()
                                (20)
                                (21)
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                          SECOND SUPERSEDING INDICTMENT

   THE UNITED STATES GRAND JU Y CHARGES:

                                           Count One

                                                           Violation: 21 U.S.C. § 846
                                                           (Conspiracy to Distribute or
                                                           Possess with Intent to Distribute
                                                           or Dispense Cocaine)

          From on or about November 1, 2016, the exact date being unknown to the Grand

   Jury, and continuing thereafter until on or about February 8, 2019, in the Eastern District of

   Texas and elsewhere,

                    Zenon Dominguez Nieto, a.k.a. Domi uez Nieto; (1)
                        Juliano Garcia-Zabaleta, a.k.a. Toro; (2)
               Jose Antonio Ibarra Godinez, a.k.a. Gordo, a.k.a. Gordito; (3)
                                 David Clyde McKinney; (4)
                                 Shamilya Diane Greene; (5)
                        wmmm amam m mm (<>)
                          Tomas Duque Pineda, a.k.a. Chaparro; (7)
                                Luis Vega, a.k.a. Kiko; (8)
                                    Omar Martinez; (9)
                                Fabian Villegas Herrera; (10)
                                    Selene Herrera; (11)
                                Maria Villegas Herrera; (12)
                          Jose Villegas Martinez, a.k.a. Monito; (13)
                            Jose Isaac Herrera, a.k.a. Isaac; (14)
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                       Alvaro Gabriel Vargas Cuevas, a.k.a. Varo; (15)
                        Leonicio Jimenez, a.k.a. Lloron; (16)
                                  Liliana Duque Pineda; (17)
                                 Carlos Vasquez Artiaga; (18)




   defendants, did intentionally and knowingly conspire, combine, confederate, and agree

   together, with each other, and with other persons known and unknown to the Grand Jury to

   distribute and possess with intent to distribute 5 kilograms or more of a mixture or

   substance containing a detectable amount of cocaine; a violation of 21 U.S.C. § 841(a)(1).

          In violation of 21 U.S.C. §846.

               NOTICE OF INTENT TO SEEK CRIMINAL FORFEITURE
                                 (Pursuant to 21 U.S.C. § 853)


          As a result of the com is ion of the foregoing offense alleged in the indictment,

   the defendants shall forfeit to the United States, pursuant to 21 U.S.C. § 853, any

   property constituting, or derived from, proceeds obtained directly, or indirectly, as a

   result of the said violation, and any property used, or intended to be used in any manner

   or part, to commit or to facilitate the commission of the said violation, including but not

   limited to the following:
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   Items seized from the residence of Jose Antonio Ibarra Godinez

               a. $55,274.00 in United States currency

   Items seized from the residence of Shamilya Greene

               a. One Remington .45 caliber handgun, model 1911 Rl, Serial Number
                     RHN70956A with two magazines

               b. Fifteen (15) rounds of .45 caliber ammunition

               c. One black silencer, unknown model or serial number, with markings
                      AAC and 0.578.28

   Items seized from the residence of David McKinney

               a $28,873.00 in United States currency

               b. 2015 GMC Denali, License plate number LKG3255, YIN:
                      1GKS2CKJ0FR507595

               c. One Glock 9mm handgun, Model 26, Serial Number DHR519US
                     with one magazine

               d. Forty-three (43) rounds of 9mm ammunition

               f. One Black Gemtech Silencer with marking 1 /2-28

               g. One Glock gun case with handgun papers and cleaning brush

               h. One FN Herstal 5.7 x 28 caliber handgun, unknown model, Serial
                     Number 386220247 with one magazine

               i. Twenty (20) rounds of 5.7 x 28 ammunition

               j. One Royal Sovereign Money Counter Serial Number
                     K1606LA66646

               k. One Marlin .22LR Caliber Rifle, Model 99G, Unknown serial
                     number


               l. One Remington 20 Gauge Magnum shotgun, Model Wingmaster
                     870, Serial Number S152330N
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               m. Unknown Make 7.62 x 39mm Rifle, Unknown Model, Serial
                     Number K1855

               n. One Taurus 9mm Handgun, Model Millennium PT III, Serial
                     Number TUJ96172 with one magazine

               o. One Sccy 9mm Handgun, Model CPX-2, Serial Number 567000
                     with one magazine

               p. One Anderson Manufacturing 5.56 (multi cal) Rifle, Model AM-15,
                     Serial Number 18104077 with one magazine

               q. Twenty-six (26) rounds of .223 caliber ammunition

               r. One Taurus 9mm Handgun, Model PT 92 ATS, Serial Number
                     TGX88351 with one magazine

               s. One CN Romarm SA/Cugir 7.62 x 39 mm Rifle, Model SARI,
                     Serial Number S7-34993-2001 with one magazine

               t. Thirty (30) rounds of 7.62 x 39mm ammunition

               u. One Taurus .380 caliber handgun, Model PT 738, Serial Number
                     1D046376 with one magazine

               v. Six (6) rounds of .380 caliber ammunition

   Additional Items Seized


               a. 2014 Toyota Tacoma, License Plate number KNK9054, YIN
                     5TFLU4EN7EX098729

               b. 2016 Mercedes Benz, License Plate number JKS2509, YIN
                     4JGED7FB5GA009143

               c. 2014 Ford Mustang, License Plate number KGV9066, YIN
                     1ZVBP8CF7E5303870

               d. 2017 Jaguar XE Sedan, License Plate number LJP5281, YIN
                     SAJAE4BG7HA969227
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   Real Property

                 a. 810 Pangbum Street, Grand Prairie, Texas 75051; Tyre Estates
                    Addition Block: 8 Lot: 20.

                 b. 7201 Chambers Creek Lane, Arlington, Texas 76002; Lake Port
                     Meadows Addition Block: 11 Lot: 1.


   MONEY JUDGMENT

          A sum of money equal to thirty-five million, one hundred thous nd dollars

   ($35,100,000.00) in United States currency, representing the amount of proceeds

   obtained as a result of the offense alleged in Count One, conspiracy to distribute and

   possess with intent to distribute a Schedule II controlled substance, namely 5 kilograms

   or more of cocaine, for which the defendants are personally liable for the approximate

   amounts shown below:

   Zenon Dominguez Nieto $35,100,000
   Juliano Garcia-Zabaleta $35,100,000
   Jose Antonio Ibarra Godinez $371,000
   David Clyde McKinney $7,950,000
   Shamilya Diane Greene $4,770,000
                                                   $795,000
   Tomas Duque Pineda                              $7,632,000
   Luis Ve a                                       $596,250
   Omar Martinez                                   $954,000
   Fabian Villegas Herrera                         $1,227,750
   Selene Herrera                                  $1,227,750
   Maria Villegas Herrera                          $1,227,750
   Jose Villegas Martinez                          $1,227,750
   Jose Isaac Herrera                              $954,000
   Alvaro Gabriel Vargas Cuevas                    $954,000
   Leonicio Jimenez                                $39,600
   Liliana Duque Pineda                            $291,500
   Carlos Vasquez Artiaga                          $291,500
                                                   $185,500
                                                   $25,500
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                                                     $2,491,000
                                                     $150,000
                                                     $150,000
                                                     $132,500
                                                     $132,500
                                                     $21,600
                                                     $53,000
                                                     $53,000
                                                     $79,500


          Substitute assets

          If any property subject to forfeiture as a result of any act or omission by the

   defendants (i) cannot be located upon the exercise of due diligence, (ii) has been

   transferred or sold to, or deposited with a third party, (iii) has been placed beyond the

   jurisdiction of the court, (iv) has been substantially diminished in value, or (v) has been

   commingled with other property which cannot be subdivided without difficulty, the

   defendants shall forfeit to the United States any other property of the defendants up to the

   value of the forfeitable property.




                                                     A TRUE BILL



                                                     GRAND JURY FOREPERSON


   JOSEPH D. BROWN
   UNITED STATES ATTORNEY



   Lesley D. Brooks                           Date
   Assistant United States Attorney
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                     IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

   UNITED STATES OF AMERICA

   v.

                                                      NO. 4:19-CR-68
                                                      Judge Mazzant
   ZENON DOMINGUEZ NIETO (1)
   a.k.a. DOMINGUEZ NIETO
   JULIANO GARCIA-ZABALETA (2)                        SEALED
   a.k.a. Toro
   JOSE ANTONIO IBARRA GODINEZ (3)
   a.k.a. Gordo
   a.k.a. Gordito
   DAVID CLYDE McKINNEY (4)
   SHAMILYA DIANE GREENE (5)
                                       (6)
   TOMAS DUQUE PINEDA (7)
   a.k.a. Chaparro
   LUIS VEGA (8)
   a.k.a. Kiko                                                   MAY - 8 20)9
   OMAR MARTINEZ (9)
   FABIAN VILLEGAS HERRERA (10)                               Clerk, US. District Court
   SELENE HERRERA (11)         §                                   Texas Eastern
   MARIA VILLEGAS HERRERA (12) §
   JOSE VILLEGAS MARTINEZ (13) §
   a.k.a.            Monito              §
   JOSE ISAAC HERRERA (14) §
   a.k.a.             Isaac              §
   ALVARO GABRIEL VARGAS CUEVAS (15) §
   a.k.a.              Varo              §
   LEONICIO JIMENEZ (16) §
   a.k.a.            Lloron              §
   LILIANA DUQUE PINEDA (17)
   CARLOS VASQUEZ ARTIAGA (18)               §
                            (19)
                                (20)
                                (21)
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                                                    §
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                                    NOTICE OF PENALTY

                                          Count One

   Violation: 21 U.S.C. § 846

   Penalty: If 5 kilograms or more of a mixture or substance containing a detectable
                  amount of cocaine - not less than 10 years, nor more than life
                  imprisonment, a fine not to exceed $10 million, or both; supervised release
                 of at least 5 years;

                 If 500 grams or more of a mixture or substance containing a detectable
                 amount of cocaine - not less than 5 years, nor more than 40 years
                 imprisonment, a fine not to exceed $5,000,000, or both; supervised release
                 of at least 4 years;

                 If less than 500 grams of a mixture or substance containing a detectable
                 amount of cocaine - imprisonment up to 20 years, a fine not to exceed
                 $1,000,000, or both; supervised release of at least 3 years.

   Special Assessment: $100.00
